                Case 1:21-cr-00200-CMH Document 1 Filed 08/10/21 Page 1 of 1 PageID# 1



                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                    Eastern District
                                                  __________         of of
                                                              District  Virginia
                                                                           __________

                     United States of America                          )
                                v.                                     )
                                                                       )        Case No. 1:21-mj-00279
                        Anthony AYEAH,
                      Mouaaz ELKHEBRI,                                 )
                      Onyewuchi IBEH, and                              )
                        Jason JOYNER                                   )
                                                                       )
                            Defendant(s)


                                                  CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 March 31, 2020                  in the city/county of                         Fairfax

in the          Eastern             District of             Virginia             , the defendant(s) violated:
               Code Section                                                       Offense Description
18 U.S.C. § 1343 and 1349                                          Conspiracy to Commit Wire Fraud




           This criminal complaint is based on these facts:
           See attached Affidavit



           __________________________________________________________________________

            ✔ Continued on the attached sheet.
            ޭ                                                                    EDPAPISH               Digitally signed by EDPAPISH
                                                                                                        Date: 2021.08.06 09:33:17 -04'00'


                        Reviewed by AUSA/SAUSA                                         Complainant’s signature
            AUSA Christopher Hood
            _____________________________________                          Special Agent Ethan Papish, U.S.S.S.
                                                                           _____________________________________
                      Printed name and title                                             Printed name and title
   Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
   telephone                                                   (specify reliable electronic means).
                                                                                                                            Digitally signed by Michael S.
                                                                                                                            Nachmanoff
   Date: 8//2021                                                                                                          Date: 2021.08.10 11:32:42 -04'00'
                                                                                                        Judge’s signature

   City and state:      Alexandria, Virginia                                    Hon. Michael S. Nachmanoff, U.S. Magistrate Judge
                                                                                                      Printed name and title
